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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

INTERMOUNTAIN FAIR HOUSING          )
COUNCIL,                            )                 CASE NO. CV 10-598-BLW
                                    )
      Plaintiff,                    )                 JUDGMENT
                                    )
vs.                                 )
                                    )
CHIEF SELTICE MOBILE HOME PARK )
and JEANIE PEERY,                   )
                                    )
      Defendants.                   )
____________________________________)

       Pursuant to the Stipulation filed with the Court on March 9, 2011, and finding good cause

therefore,

       NOW THEREFORE IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, that

the Stipulation to Dismiss (docket no. 13) is APPROVED and incorporated fully herein by

reference.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that the above-entitled

proceeding is DISMISSED WITH PREJUDICE in its entirety, with each party bearing its own

attorney’s fees and costs incurred herein. The Clerk is directed to close this case.



                            Date: Mar 17, 2011



                                                   B. LYNN WINMILL
                                                   Chief District Judge
                                                   United States District Court


Judgment -- 1
